           Case 25-90138 Document 35 Filed in TXSB on 06/03/25 Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                           )
                                                                 ) Chapter 15
GEDEN HOLDINGS, LTD.,                                            )
                                                                 ) Case No. 25-90138 (ARP)
                   Debtor in a Foreign Proceeding.               )


                                  CORPORATE OWNERSHIP STATEMENT

         Advantage Award Shipping, LLC (“Advantage”)1 hereby files this corporate ownership

statement pursuant to Rules 1012(c) and 7007.1 of the Federal Rules of Bankruptcy Procedure:

           • Advantage Award Shipping, LLC is wholly-owned by Advantage Tankers LLC.

Dated: June 3, 2025                                Respectfully submitted,
                                                   PACHULSKI STANG ZIEHL & JONES LLP
                                                   /s/ Steven W. Golden
                                                   Michael D. Warner (TX Bar # 00792304)
                                                   Steven W. Golden (TX Bar # 24099681)
                                                   700 Louisiana Street, Suite 4500
                                                   Houston, TX 77002
                                                   Telephone: (713) 691-9385
                                                   mwarner@pszjlaw.com
                                                   sgolden@pszjlaw.com
                                                   and
                                                   Jordan A. Kroop (admitted pro hac vice)
                                                   Jeffrey M. Dine (admitted pro hac vice)
                                                   1700 Broadway, 36th Floor
                                                   New York, NY 10019
                                                   Telephone: (212) 561-7734
                                                   jkroop@pszjlaw.com
                                                   jdine@psjzlaw.com
                                                   Counsel for Advantage Award Shipping, LLC


1
  Under Local Rule 9027-3, Advantage does not consent to entry of final orders or judgments by the bankruptcy
judge. Advantage appears in this matter for the sole purpose of opposing recognition. By so appearing, Advantage:
(a) does not submit to the jurisdiction of this Court or the U.S. District Court for the Southern District of Texas
under one or more of 28 U.S.C. §§ 157, 1334, and 1452 (together, the “Bankruptcy Court”); (b) does not waive
any argument that the Bankruptcy Court lacks jurisdiction over Advantage or any disputes between Advantage on
the one hand and the Liquidator (as defined above) and any other party to this proceeding on the other hand; and (c)
does not waive any argument regarding the referral of any matter from the United States District Court to the United
States Bankruptcy Court, or any argument for or against removal, remand, or abstention.
DE:4911-4140-9610.1 01222.00001
           Case 25-90138 Document 35 Filed in TXSB on 06/03/25 Page 2 of 2




                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on June 3, 2025, a true and correct copy of the above and
foregoing pleading was caused to be served electronically through this Court’s CM/ECF noticing
system on parties registered to receive electronic notices in this case pursuant to the Electronic
Filing Procedures in this District, including the United States Trustee and counsel for the Foreign
Representative.

                                                     /s/ Steven W. Golden
                                                     Steven W. Golden




                                                2
DE:4911-4140-9610.1 01222.00001
